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                                                                       DATE FILED: 6/14/2024

                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



  IN RE: BIT DIGITAL, INC.                          Lead Case No. 1:21-cv-00515-ALC
  SECURITIES LITIGATION




              ORDER FOR DISTRIBUTION OF NET SETTLEMENT FUND

       IT IS HEREBY ORDERED, this 14th day of June, 2024, upon the motion of Lead

Plaintiff Joseph Franklin Monkam Nitcheu ("Lead Plaintiff'), for an entiy of an Order for

Disti·ibution of the Net Settlement Fund, that:

       1.      The administi·ative detenninations of the Claims Administrator, Kroll Settlement

Administration LLC ("Kroll"), described in the Distribution Declaration of Robert Connio

Regarding (A) Mailing of the Postcard Notice; (B) Administration of Received Claims; and (C)

Proposed Distribution of Settlement Fund (the "Kroll Declaration"), are hereby approved; and

       2.      Kroll is directed to proceed with payment of the Net Settlement Fund to the

Authorized Claimants as described in the Kroll Declaration.

Dated: June 14, 2024




                                                              Honorable Andrew L. Carter, Jr.
                                                              United States Disti·ict Judge
